                 UNITED STATES DISTRICT COURT
          FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                        WESTERN DIVISION
                     File No.: 5:19-CR-428-FL-1

UNITED STATES OF AMERICA,      )
                               ) ORDER ALLOWING DEFENDANT
          v.                   ) WEEKLY TELECOMMUNICATION
                               ) WITH STANDBY COUNSEL
GERALD TIMMS                   )
_______________________________)

      In the interests of justice and for good cause shown, it is hereby ordered

that the defendant shall have telephonic access to his standby counsel in this

case once weekly from today’s date until June 10, 2020 for a period of twenty

minutes per call. A copy of this order shall be sent to the Federal Bureau of

Prisons facility at Butner, attention Counselor Brooks.

      This 20th day of May, 2020.



                                _______________________
                                LOUISE W. FLANAGAN
                                United States District Judge




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